  Case 1:23-mi-99999-UNA Document 2897-5 Filed 09/08/23 Page 1 of 43




Andre R. Johnson v. The Kroger Co.
State Court of Fulton County, State of Georgia
Civil Action File Number: 23EV004834

Andre R. Johnson v. The Kroger Co.
USDC, Northern District, Atlanta Division
Civil Action File Number: TBA (Removal # 1:23-mi-99999)




     EXHIBIT B: PETITION FOR REMOVAL



       ALL PLEADINGS, PROCESS, AND ORDERS
       FILED IN THE STATE COURT OF FULTON
            COUNTY, STATE OF GEORGIA
                                                                     State
            Case 1:23-mi-99999-UNA Document 2897-5 Filed 09/08/23 Page      43 of Fulton County
                                                                       2 ofCourt
                                                                                                                        **E-FILED**
                                                                                                                       23EV004834
                                                                                                                  8/8/2023 2:29 PM
                        General Civil and Domestic Relations Case Filing Information Form
                                                                                                                Donald Talley, Clerk
                                                                                                                      Civil Division
                           ❑   Superior or X State Court of          Fulton                    County

       For Clerk Use Only

       Date Filed                                              Case Number
                          MM-DD-YYYY

Plaintiff(s)                                                    Defendant(s)
Johnson, Andre R.                                               The Kroger Co.
Last          First             Middle 1.    Suffix   Prefix       Last           First         Middle I.   Suffix   Prefix


Last          First             Middle 1.    Suffix   Prefix       Last           First         Middle 1.   Suffix   Prefix


Last          First             Middle I.    Suffix   Prefix       Last           First         Middle I.   Suffix   Prefix


Last          First             Middle I.    Suffix   Prefix       Last           First         Middle 1.   Suffix   Prefix


Plaintiff's Attorney Paul I. Hotchkiss .                        State Bar Number 368424                Self-Represented ❑

                      Check one case type and one sub-type in the same box (if a sub-type applies):

       General Civil Cases
                                                                          Domestic Relations Cases
        ❑       Automobile Tort
                                                                          ❑      Adoption
        ❑       Civil Appeal
                                                                          ❑      Contempt
        ❑       Contempt/Modification/Other
                                                                                 ❑  Non-payment of child support,
                Post-Judgment
                                                                                 medical support, or alimony
        ❑       Contract
                                                                          ❑      Dissolution/Divorce/Separate
        ❑       Garnishment
                                                                                 Maintenance/Alimony
        ❑       General Tort
                                                                          ❑      Family Violence Petition
        ❑       Habeas Corpus
                                                                          ❑      Modification
        ❑       Injunction/Mandamus/Other Writ
                                                                                 ❑ Custody/Parenting TimeNisitation
        ❑       Landlord/Tenant
                                                                          ❑      Paternity/Legitimation
        X       Medical Malpractice Tort
                                                                          ❑      Support — IV-D
        ❑       Product Liability Tort
                                                                          ❑      Support — Private (non-IV-D)
        ❑       Real Property
                                                                          ❑      Other pomestic Relations
        ❑       Restraining Petition
        ❑       Other General Civil

❑       Check if the action is related to another action pending or previously pending in this court involving some or all of
        the same: parties, subject matter, or factual issues. If so, provide a case number for each.


                Case Number                                     Case Number


X       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in OCGA § 9-11-7.1.

❑       Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                                            Language(s) Required


❑       Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                       Version 1.1.20
                                                                 State Court of Fulton County
        Case 1:23-mi-99999-UNA Document 2897-5 Filed 09/08/23 Page 3 of 43        **E-FILED**
                                                                                                    23EV004834
                                                                                               8/8/2023 2:29 PM
                                                                                             Donald Talley, Clerk
                                                                                                   Civil Division
                        IN THE STATE COURT OF FULTON COUNTY
                                  STATE OF GEORGIA

 ANDRE R. JOHNSON,                                  )

           Plaintiff,
                                                          CIVIL ACTION FILE
 LIFM                                                     NO.

 THE KROGER CO.,
                                                          JURY TRIAL DEMANDED
           Defendant.

                                           COMPLAINT

          Plaintiff Andre R. Johnson, by and through his undersigned counsel, hereby files the above-

styled Complaint, showing this Honorable Court as follows:

                            PARTIES, JURISDICTION, AND VENUE

                                                  l.

          Plaintiff Andre R. Johnson ("Mr. Johnson" or "Plaintiff") is a citizen and resident of the

State of Georgia.

                                                  2.

          Defendant The Kroger Co. (hereinafter "Kroger" or "Defendant") is an Ohio for-profit

corporation with its principal office located at 1014 Vine Street, Cincinnati, Ohio 45202. Kroger

may be served with process upon its registered agent in Georgia: CSC of Cobb County, Inc., 192

Anderson Street SE, Suite 125, Marietta, Georgia 30060.

                                                  3.

          Kroger is vicariously liable for the negligence of its agents and employees, including its

pharmacists, pursuant to the doctrine of respondeat superior.
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                                                 9

        Jurisdiction and venue are proper in the State Court of Fulton County because this cause

of action originated in Fulton County and Kroger has an office and transacts business in Fulton

County. See O.C.G.A. § 14-2-510(b)(3).

                                              FACTS

                                                 5.

        The allegations of the foregoing paragraphs are re-alleged and incorporated herein by this

reference as if fully set forth herein.

                                                 W

        Mr. Johnson was born with a rare genetic condition, very long-chain acyl-CoA

dehydrogenase deficiency ("VLCAD deficiency").

                                                 ~

        According to the National Institutes of Health:

                VLCAD deficiency is a condition in which the body is unable to properly
                breakdown certain fats (called very long-chain fatty acids) into energy,
                particularly during periods without food (fasting). Signs and symptoms may
                include low blood sugar (hypoglycemia), lack of energy, and muscle
                weakness. Children affected by the most severe forms of the condition are
                also at risk of complications such as liver abnormalities and heart problems.



        Persons with untreated VLCAD deficiency can suffer an array of serious complications,

including rhabdomyolysis, hypoglycemia, low energy, general muscle weakness, liver damage,

and heart problems.

                                                 a

       Mr. Johnson was diagnosed with VLCAD deficiency as an infant and began a daily

regimen of Levocarnitine, prescribed by his geneticist, Dr. Frances Kendall, to protect against



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VLCAD-deficiency-related complications.

                                                10.

       From the time of Mr. Johnson's infancy until January 8, 2021, when he was then 16 years

old, his mother, Giovanna Johnson, routinely filled his Levocarnitine prescription at the Kroger

Pharmacy located at 12460 Crabapple Road in Alpharetta, Fulton County, Georgia.

                                                11.

       On January 8, 2021, and on 9 separate occasions thereafter (2/17/2021, 3/20/2021,

4/17/2021, 5/17/2021, 8/6/2021, 9/9/2021, 10/8/2021, 11/14/2021, and 12/23/2021), Kroger filled

and dispensed Levetiracetam (100 Mg/MI) instead of Levocarnitine (1G/10 MI Soln).

                                                12.

       Levetiracetam (brand name: Keppra) is an anticonvulsant drug used to treat seizures.

                                                13.

       Mr. Johnson does not have epilepsy, does not have any history of seizures, and did not have

a prescription for Levetiracetam (Keppra).

                                                14.

       Kroger's errors were not discovered by Kroger but rather by Dr. Kendall after the pharmacy

faxed her a refill request for Levetiracetam (Keppra) on 2/10/2022 and Dr. Kendall investigated.

                                                15.

       As a result of Kroger Pharmacy's repeated filling and dispensing errors, Mr. Johnson was

not only deprived of necessary treatment for his VLCAD deficiency for more than an entire year

but also given an unnecessary medication that had its own set of detrimental side effects, including

unusual tiredness and weakness, fever, headache, hair loss, and a difficult withdrawal period.




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        For more than an entire year—the period throughout which the subject pharmacy errors

occurred—Mr. Johnson suffered from the combined consequences of untreated VLCAD

deficiency and the side effects of Keppra, including the following medical issues and symptoms:

        (a) Four major episodes of rhabdomyolysis;
        (b) Left ventricular wall hypertrophy with diminished ventricular septal tissue;
        (c) Chronic fatigue;
        (d) Slurred speech;
        (e) Profound" elevations of CPK levels;
        (f) Elevated ALT and AST enzymes (indicating inflammation or damage to cells in the
            liver, kidneys, and/or heart);
        (g) Hair loss; and
        (h) Keppra withdrawal symptoms (including headaches and vomiting x 1 week).

                         COUNT I — PROFESSIONAL NEGLIGENCE

                                                  17.

        The allegations of the foregoing paragraphs are re-alleged and incorporated herein by this

reference as if fully set forth herein.



        Kroger's pharmacist(s) who were responsible for the subject pharmacy errors breached the

standard of care in at least the following ways: (1) they failed to fill and dispense the correct drug

to Mr. Johnson pursuant to his prescription; (2) they filled and dispensed the wrong drug to Mr.

Johnson, which he did not have a prescription for; (3) they disregarded standard safety protocols

that are in place in ensure that prescription errors of this type do not occur; (4) they failed to review

(or meaningfully review) Mr. Johnson's previous medication records; (5) they failed to

counsel/educate the patient on the "new" medication, Levetiracetam (Keppra), which carries

known, potentially serious side effects and is considered a high-risk drug; (6) they sent Mr.

Johnson's prescribing physician a refill request for a drug that had not been prescribed for him;




                                                  Ca
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and (7) they subjected Mr. Johnson to over one year of negative,effects of Levetiracetam, which

he did not need, and at the same time deprived Mr. Johnson of the benefits of Levocarnitine, which

Mr. Johnson required for control of his VLCAD deficiency.

                         COMPLIAINCE WITH O.C.G.A. & 9-11-9.1

                                                   mg

       In compliance with O.C.G.A. § 9-11-9.1, Plaintiff attaches hereto as Exhibit 1 the Affidavit

of Brian D. Buck, Pharm.D., FASHP.

       WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

       a.      That he have judgment against Defendant in an amount greater than $10,000.00, to

be determined by the enlightened conscience of an unbiased jury for the following damages: his

past and future physical and mental pain and suffering; all of his necessary future medical expenses

related to Defendant's subject negligence; and any and all other damages authorized under Georgia

law;

       b.      That he recover attorneys' fees and expenses of litigation, to the extent that the

evidence establishes his entitlement thereto;

       C.      That all costs be cast against the Defendant;

       d.      That he have a trial by jury; and

       e.      That the Court grant such other and further relief as it deems just and proper.

       Respectfully submitted, this 8th day of August, 2023.

                                                         /s/Paul7. Hotchkiss
                                                         Paul I. Hotchkiss
                                                         Georgia Bar No. 368424
                                                         Maggie L. Stewart
                                                         Georgia Bar No. 681630




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HOTCHKISS LAW FIRM LLC
185 E. Lake Ter. SE
Atlanta, GA 30317
Telephone: 706-424-1013
paul(~
     a,hotchkisslawfirm. com
maggie@hotchkisslawfirm.com
                                       Attorneys for Plaintiff




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                                                                                  EXHIBIT 1
                                           AFFIDAVIT

S'pA'T`E aF GEORGIA

Ct7UNT'Y C1F CLARKE

       Before me, the undersigaed ot'ficer, duly authozzzed to adrninister oatkts, vame BxiazY D.

Buck, Pharm.D., FA.SHP, who after being first duly swom on oath, states as follows:
                                                  1.
        I asn Briaax D. Buck. X am a pharmacist licensed iat tb,e State of Creorgia ancl have been so
licensed sitxce July 31, 1992, I was licensed to practice pharmacy in Cxeorgia in 2021, wlxen the
pharinacistrelated actions aud omassions which are the subject of ztxy review occurred. X am a
fellow of th.e Axnerican Society of Health System Phazza;acists. Since 2006 (includxug the S years
precediztg 2Q21), I have been irr the active practice oit' pharmacy, first at A.thens Regaonal
Medical Center in A.thens, Ceorgia, and thhen sinco September 2016 as an Taadependent
Cornmunity Pktaxa7aacist in Athens, Cleorgia. Further, from 2006 to 2016, Z was a Clinical
Associate Professor at the I7zai.versity of Gcorgia School of Plxarmacy azxd was actively involved
in the teaclazrg of phar.nn,acy duri.ra,g that tivae. Additionally, since Marclt 2017, I have served in
the xole of.. a CliztXcal Consultant as tb.e Proprietor of I'harmacotherapy Consultitg, LLC, iza
Athens, Georgia. A sumrnary of my education, qualiftcatio.n.s, backgrouzad, and experience is
cozxtained i.n my Curriculutr2 Vitae, which is a.ttached hareto as Exhibit "A "
                                                  2.
         X,.am over ths age of eigb.teen (18) years, su.ffer fmzn no legal disabxlities, aud give this
.A.ffidavit based upon ray own personal knowledge aaad belief.
                                               3.
        Based on my cducation, traizu,ng, and expexiemce, I am familia.r with that degree of care

and sks11 ordinaxXly exercised by pharriacists getteraXly under the some or similar circumstancas

arud lxke surkounding conditions (the `°staxrdard of care"). Specxfically, T ax.o faxniliar with that

degree df care and skill ordinruily exercised by pharrnacists as it pertaiMs to dispansing the

specitxc zxzedXcatxons and doses that have been prescxibed to patients by thetr physicians and aaot

disperisi~,g-medicataons to patients that have not been prescribed by their physicians.

                                               4.
        Im giving thxs Affldavit, I have reviewed Aaxdre Johu;soa.'s customer statezn.ent reports

frobn. Rroger k'hamacy, located at 12460 Crabapple Rd., A,lpharetta, Georgia,, for the time period

of. 2/1/2U19 to 12/23/2021; his patxeaat records from Frances K.en.dall, 11+I.17., and photos of his

                                           EXHIBIT 1
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hair loss duaring 2021. x dotaal my opinions below.
                                                U

       And,re Johnson had a laztgstandin,g presczaption #'or Levocarnitine ftm Dr. Kendall,

which was filled s,t K.roger Phaxxnaay. Accordittg to tlte records greseatly in my possessxon,

K.roger Phazrnacy fiXled and dispetxsed Mx. Johnson's pxesciiption for Levocarnitine (10/10 NO
                                                                           ,
Soln); on 5/17/2018, 6/18/2018, 8/17/201$, 9/12/2018, 11/13I201$, 12/29/2018, 2/13/2019,

3/18/2019,; 5/3/2019, 5/27/2019, 7/25/2019, 8/10/2019, 8/29/2019, 9/'7/2019, 10/7/2019,
 , ..
10/24/2019, 11/13/2019, 12/21/2019, 1/27/2020, 2/2712020, 3/23/2020, 5/1/2020, 6/18/2020,

8/ X 8/2020, 10/3/2020, 11/3/2020, and 12/1/2020.

                                                 b.

        0?n 1/8/2021, and on 9 Separ-ate occssions thereafter (i.e., 2/17/2021, 3/2012021,

4/17/2021, 5/17/2021, 8/6(2021, 9/9/2021, 10/8/2021, 11/14/2021, aztd 12/23/2021), Kroger

Pkarmacy filled and dispensed to M'x. JQhmon Levetituetam (100 Mg/MI) xxtstead of

Levocariiitine (10/10 MI Solu). Levethacetam (brand name: Keppta) is an anticonvuXsan;t cirug

used- to treat seiznres.

                                                 7.

       :Accordin$ to the records in my possession, .A.ndxe does n.ot have e;pilepsy, does ztot have

any bdstory of sexxures, aad dld aot have a pxescriPtYan for Levetiracetaxo. (Keppra).
        .                                .
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        Krogex Pharmacy's exroars were not dascavexed by Kroger Pharmacy but rathez by Dr.

KendalY, M.D., Mr. JohnsoM's 1oxa.g-tixne treating geneticist when Xxoger &r.ed her a refill

request for Levetiaraaetam (Keppyra) ort 2/10/2022 aud Dr. K.en,dalx :nvestigated.

                                                 9.


                                                ..2.
  Case 1:23-mi-99999-UNA Document 2897-5 Filed 09/08/23 Page 11 of 43




       Based on my eduaatxon, tyraining, and experience, the indxvidual pharbdacists at Kzoger

Pharmacy who wete invoXved ifi dispensxng to Mr. Johnson Levetiracetatxa 3nstead of

Levocainitine braached the applicable stazxd,ard oi' care in at least t,he following ways: (1) they

1'ailed to fill and dispense tlae correct clrrug to Mr. Jobnson pursuant to his pxescription; (2) they

filled and dispensed the wrong drug to Mr. Johnsoo., which lae did not have a prescription i"or;

(3) tb,ey'di,sxegarded standard sa£ety prntocols that are in lrlace xn enst re that prescription errors

ol` tki.is type do not oceur; (4) tlaey £axled to review (or meanuingfully review) Mx. Johnson's

pxevxous znedicatiori records; (5) they failed to oounselleducate tlie patiemt on the "new°,

inedication, l:*,evetixacetana (Keppra), which carrries knowxx, potentxally serious side e££ects and is

considered a hig,b.-risk druga (6) they seo,t Mr. J'olunson's prescribb,tg physicia.n a refilJ request

£or a &iz,g that had not been prescribed for hin.x; and ('1) they subjected Mr. Joluxson to over one

year o£ negative e££ect;s o£ Levetiracetam, .wluch he did o,ot zteed, and at the same time deprived

Mr. J'ohiison of t1ae beneffts o£ Levoca.zztitine, wlvich W. Johnson recluired £or control of his

gonetic eondition (ve,ry long-chain acyl~CoA dehydrogenase deficiency).

                                                     10.

        It is not the purpose o£ this A;kfidavit to set forttt each and evwry criticism that I have now

oic nxay have in the £uture regarding Yroger Pharmacy or the iudavxdual pharmacists at Kroger

Pharinaey who were :involved an dispensing to W. Johnson Leveti.racetaxn iunstead o£

Levdcarnitize but rather to be xzt compXiance with Q.C.G.A. § 9-11-9.1, which requires tb.ai th.is

A,ffida.vit set £orth one negligent a.ct azxd th.e £actual laasis £or xny opiaaion.

        kkTHER AFFYANT SAYETH NOT.




                                                    Brian D. Buck, phar~b., FASHP

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                        Case 1:23-mi-99999-UNA Document 2897-5 Filed 09/08/23 Page 12 of 43




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                   Notary Public

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                                                                                 EXHIBIT A
                           Brian Dale Buck, Pharm.D., FASHP

Contact Information:        5 Oak Grove Road
                            Athens, GA 30607
                            Phone: 706-207-4145
                            E-mail: briandalebuck(a~,gmail.com

CURRENT POSITION

      Clinical Consultant and Proprietor             March 2017 — present
      Pharmacotherapy     Consulting,  LLC
      Athens, GA
             Areas of expertise (include, but not limited to):
             Health-System Pharmacy Practice (community and institutional), Patient / Medication
             Safety, Pulmonary/Critical Care Medicine, Pharmacy Management/Leadership, Post-
             Graduate Residency Training, Infectious Diseases, End Organ Failure

      Independent Community Pharmacist            September 2016 — present
      Certified Immunization Provider / Basic Life Support
      Certified USP Sterile Product Preparation
      Hawthorne Drugs, LLC
      Athens, GA

PROFESSIONAL / ACADEMIC POSITIONS

      Clinical Associate Professor
      University of Georgia College of Pharmacy
      Athens, GA                                September 2006 — July 2016
             Clinical Practice Site:
             Critical Care Medicine
             Athens Regional Medical Center (January 2013 — July 2016)
             St. Mary's Health System (January 2007 — August 2012)
             Athens, GA

      Faculty Member
      University of Georgia Graduate School
      Athens, GA                                  September 2006 — July 2016

      Coordinator, Pharritacotherapy
      University of Georgia College of Pharmacy
      Athens, GA                                August 2008 — July 2016

      Director of Post-Graduate Residency Programs
      University of Georgia College of Pharmacy
      Athens, GA                                September 2006 — June 2011

      Program Director
      ASHP-Accredited PGY1 Community Pharmacy Residency
      University of Georgia College of Pharmacy
      Athens, GA                                September 2006 — June 2009

                                    EXHIBIT A
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  Assistant Director of Pharmacy
  Northeast Georgia Medical Canter and Health System
  Gainesville, GA                           October 2003 — August 2006

  Director of Pharmacy (Interim)
  Northeast Georgia Medical Center and Health System
  Gainesville, GA                           May 2005 — November 2005

  Clinical Assistant Professor (Adjunct)
  University of Georgia College of Pharmacy
  Athens, GA                                February 2004 — September 2006

  Program Director
  ASHP-Accredited Pharmacy Practice Residency
  Northeast Georgia Medical Center and Health System
  Gainesville, GA                           October 2003 — August 2006

  Program Director
  ASHP-Accredited Pharmacy Practice Residency
  University of Maryland Medical Center   July 1997 — July 2003
  (Lead program redesign and implementation in Spring 1999; lead Residency Program (Full) Re-
  Accreditation in October 2002; mentored 27 residents)

  Clinician Manager, Operating Room/Emergency Department Pharmacy Services
  University of Maryland Medical Center
  Baltimore, MD                         July 2002 — July 2003

  Operations Manager, Centralized Operations
  University of Maryland Medical Center
  Baltimore, MD                          August 2002 — January 2003

  Coordinator, Patient Safety, Accreditation, Performance Improvement
  University of Maryland Medical Center
  Baltimore, MD                             November 2001— December 2002

  Clinical Assistant Professor (Adjunct)
  University of Florida College of Pharmacy
  Working Professional Pharm.D. Program
  Philadelphia, PA and Washington, DC       1998 — 2003

  Clinical Assistant Professor (Adjunct)
  University of Maryland School of Pharmacy
  Baltimore, MD                             1996 — 2003

  Critical Care Clinical Specialist / Critical Care Team
  Medical Intensive Care Unit / R Adams Cowley Shock Trauma Center
  Department of Pharmacy Services and UM School of Pharmacy
  University of Maryland Medical Center
  Baltimore, MD                                July 1995 — July 2003
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EDUCATION AND TRAINING

    Wharton School of Business / University of Pennsylvania
    Executive Management Program for Pharmacy Leaders
    Philadelphia, PA   September 16 — 25, 2004

    ASHP-Accredited Critical Care Pharmacy Practice Residency
    University of Maryland Medical System/R A Cowley Shock Trauma Center
    Baltimore, MD        July, 1995 — June, 1996
    Preceptor:           Beth A. Vanderheyden, Pharm.D., BCPS, FASHP

    ASHP-Accredited Pharmacy Practice Residency
    University Medical Center (Shands / Jacksonville Medical Center)
    Jacksonville, FL     July, 1994 — June, 1995
    Preceptor:           Thomas D. Keith, Pharm.D., MBA

    Doctor of Pharmacy
    University of Georgia College of Pharmacy
    Athens, GA            September, 1992 — March, 1994

    Bachelor of Science in Pharmacy
    University of Georgia College of Pharmacy
    Athens, GA            September, 1990 — June, 1992

AWARDS

    Student Career Development Award 2013, 2015, 2016
    University of Georgia

    Teacher of the Year 2010
    University of Georgia College of Pharmacy

    University of Georgia Teaching Academy 2010

    American Association of Colleges of Pharmacy 2009 Innovations in Teaching

    Fellow, American Society of Health System Pharmacists (FASHP)
    Awarded by ASHP Practitioner Recognition Program and ASHP Board of Directors for
    sustained practice excellence at ASHP Annual Meeting, Seattle, WA, June, 2008

    Georgia Hospital Association Patient Safety Award (awarded to NGHS Dept of
    Pharmacy for implemented Override Management Project) Atlanta, GA, September, 2005

    Fellow, Leonard Davis Institute of Economics: Awarded from University of
    Pennsylvania following completion of Wharton School of Business Executive
    Management Program for Pharmacy Leaders, Philadelphia, PA, September, 2004.

    Residency Program "Coach of the Year" 2000, 2002
    University of Maryland Medical Center, Baltimore, MD
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PUBLICATIONS

    Peer-Reviewed Journal articles:
    B Buck, S Wilkinson, H Phillips. Preceptor Development: Providing Effective
    Feedback, Part 2. Hospital Pharmacy 2014; 49(6):521-9.

    V Fleming, B Buck, R Southwood. Community Acquired Pneumonia with Risk for
    Drug-Resistant Pathogens. Southern Medical Journa12013; 106(3):209-16.

    H Phillips, S Wilkinson, B Buck. Optimizing the Customized Residency Plan. Hospital
    Pharmacy 2013; 48 (6):475-8. June 2013

    C Lagasse, S Wilkinson, H Phillips, B Buck. Integrating Precepting Into Your Daily
    Practice. Hospital Pharmacy 2013; 48 (3):200-3. March 2013

    S Wilkinson, R Couldry, H Phillips, B Buck. Precptor Development: Providing Feedback
    to Pharmacy Residents: Part 1. Hospital Pharmacy 2013; 48 (1):26-32. January 2013

    H Phillips, S Wilkinson, Buck BD. Preceptor Development: Role of a Needs Assessment.
    Hospital Pharmacy 2012; 47 (11):845-7. November 2012

    B Buck, S Wilkinson, H Phillips. The Complexity and Importance of Residency
    Precepting: A Series Introduction. Hospital Pharmacy 2012; 47(8): 603-7. August 2012

    B Buck, B Vanderheyden. Management of elevated intracranial pressure. Journal of
    Pharmacy Practice 2002; 15(2):167-90.

    B Buck, GB Satterlee. Characteristics of blood alternatives for surgery.            OR
    Pharmacy 1996; 10(2):8-9.

    Books:
    Contributing Author: Millonig, MK. 100 MTM Tips for the Pharmacist. 2009.
    American Pharmacy Association.

    Monographs:
    Buck, BD, Vanderheyden, BA. Protonix (pantoprazole). Wyeth-Ayerst. June, 2000.

    Abstracts:
    "Teaching Innovations to Cultivate Patient Care Provide Skills During Pharmacy
    School." Br Phillips, G Francisco, M Fulford, D McEwen, Be Phillips, K Brooks, B
    Buck. AACP Annual Meeting, Chicago, IL. July 2013.

    "Assessing Student Perceptions of Active Learning in a Pharmacotherapy Course." B
    Buck and M Fulford. AACP Annual Meeting, Orlando, FL. July 2012

    "Use of a Computer Mediated Testing System Across Multiple Campus Settings at the
    UGA College of Pharmacy." K Duke, R. Palmer, B Buck. EDULEARNl 1— 3rd Annual
    International Conference on Education and New Leaming Technologies, Barcelona,
    Spain, July 2011
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  "Assessment of Pharmacy Resident Awareness of Global Health Experiences: A Pilot
  Study." M Robinson, R Jain, and B Buck. US Public Health Service and Training
  Symposium, New Orleans, June, 2011

  "Expanding EU Pharmacy Graduate Access to Clinical Pharmacy Education through a
  US Graduate Certificate Program" B Buck, R Schuster, S Oie, B Phillips. European
  Association of Faculties of Pharmacy (EAFP) Annual Conference, Lisbon, Portugal, June
  2011

  M Bradshaw, S Phan, B Buck. Assessing Risk of QT Prolongation with Antipsychotics
  in Hospitalized Patients. Poster presentation, ASHP Midyear Clinical Meeting, Anaheim,
  CA, December 2010

  J Loudermilk, M McCauley, B Buck. Development of an Institution-Specific Reference
  Library for Advanced Practice Pharmacy Experience Students, Poster presentation,
  ASHP Midyear Clinical 1Vleeting, Anaheim, CA, December 2010

  B Buck and R Southwood Quality Assessment of a Team-Taught, Learner-Centered
  Pharmacotherapy Course. Poster Presentation, AACP Annual Meeting, Seattle, WA,
  July 2010

  Buck, BD, Ward, A, Patel, P, Southwood, R. Evaluation of Student Curricular Exposure
  to Pharmacy Residencies. Poster presntation, ASHP Midyear Clinical Meeting, Orlando,
  FL, December 2008.

  W Guffey, S Sarao, B Buck. Development and implementation of a smoking cessation
  clinic in a community pharmacy practice setting. Poster presentation, APhA Annual
  Meeting, Charlotte, NC, March 2008

  A Watts, L Castleman, B Buck, B Phillips. The Impact of a Community Pharmacist on
  Patient Knowledge of Over the Counter Medications. Poster presentation, APhA Annual
  Meeting, Charlotte, NC, March 2008

  Powell, PH, Castleman, LB, Buck, BD. Implementation of a model MTM service in a
  chain community pharmacy. Poster presentation, APhA Annual Meeting, Charlotte, NC,
  March 2008

  C Coulter, R Southwood, B Buck. Evaluating student pharmacists' presentations: An
  analysis of professional presentation experiences throughout the didactic and clerkship
  curriculum. Poster presentation, ASHP Midyear Clinical Meeting, Las Vegas, NV,
  December, 2007.

  J Hunt and B Buck Development of a model drug-usage utilization program at a
  community-based institution using enoxaparin as a template. Poster presentation, ACCP
  Annual Meeting, St Louis, MO, October 2006

  B Lynch and B Buck. "Developing improved methods for collecting and communicating
  allergies of hospitalized patients." Poster presentation, ASHP Midyear Clinical Meeting,
  Las Vegas, NV, December 2005.
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   T Blakely and B Buck. "Managing the medication override process in automated
   dispensing cabinets to improve medication safety." Poster presentation, ASHP Midyear
   Clinical Meeting, Las Vegas, NV, December 2005.

  B Vanderheyden, M Regan, and B Buck. "Determination of a weight-based heparin
  nomogram for trauma patients." Poster presentation, Society of Critical Care Medicine
  28th Educational & Scientific Symposium, San Francisco, CA, January 1999.

  S Carlisle, B Buck, and B Vanderheyden. "Evaluation of the safety and efficacy of a
  single-daily-dose (SDD) aminoglycoside regimen in trauma patients." Poster
  presentation, Society of Critical Care Medicine 28th Educational & Scientific
  Symposium, San Francisco, CA, January 1999.

  Buck, BD, Todd, MW. Errors of omission in traditional versus automated patient
  medication systems (abstract). .Tacksonville Medicine 1996; 47(7):298.

  Buck, BD, Todd, MW. Errors of omission in traditional versus automated patient
  medication systems.   Poster presentation, American Society of Health System
  Pharmacists (ASHP) Midyear Clinical Meeting, Las Vegas, NV, December 1995.

  Professional bulletins, newsletters, or reUorts:
  Buck, BD. Medication Reconciliation. NGHS Physicians' Update. Northeast Georgia
  Health System (NGHS), Gainesville, GA. Fa112006
  Buck, BD. Pharmacy residency program implemented: a major institutional
  accomplishment. NGHS Physicians' Update. Fa112004.
  Buck, BD. The safety of intravenous potassium chloride. Drug Update 1995; 12:2.
  University Medical Center, Jacksonville, FL.

  Other professional articles:
  Buck, BD. Living the dream. UGA Rx. UGA College of Pharmacy Alumni Association
  Journal, UGA, Athens, GA. Spring 2006.
  Buck, BD. A trip down the Broad River. UGA Rx. UGA College of Pharmacy Alumni
  Association Journal, UGA, Athens, GA. Winter 2006.
  Buck, BD. Transforming a campus, a career, a profession. UGA Rx. UGA College of
  Pharmacy Alunmi Association Journal, UGA, Athens, GA. Fa112006.
  Buck, BD. Extraordinary possibilities can occur when we work as a team. NGHS
  Newsletter. October 2005
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TEACHING

     PHRM 7840 and 7940 (Teaching in Pharmacy Practice)
     (Previously: University of Georgia Teaching Certificate Program for PHYl and
     PGY2 Pharmacy Residents and Preceptors)
     Course coordinator and lecturer; developed program in 2007

     PHRM 5860 and 5870 (Pharmacotherapy I and lI)
     Course coordinator and lecturer (2008 — 2016); redesigned course in 2008,.emphasizing
     active learning and group interaction
     Lectures:
     COPD (5860)
     Sepsis and septic shock (5870)
     Liver Failure (5870)

     PHRM 5901— 5909 (for Advanced 4' yr and Introductory 3rd yr Experiential Students)
     Clinical Service: Critical Care / Athens Regional Medical Center (Athens, GA) Intensive
     Care Unit

     PHRM 5140 and 5150 (P3 Sldlls Lab)
     Lab Instructor/Facilitator

     PHRM 5980 (Residency Research Elective Course)
     Course coordinator

     PHRM 5370 (Critical Care Elective Course)
     Lecturer:
     Sepsis/Septic Shock

    PHRM 3010 (Introduction to Pharmacy)
    Lecturer:
    Introduction to Post-Graduate Residency Training


RESEARCH

    Primary-investigator for: "Quality Improvement Assessment of a Team-Taught,
    Multi-Campus, Learner-Centered Pharmacotherapy Course" August 2009 — June
    2016

    Prunary Investigator for: "Barriers to and Opportunities for Improved Pharmacy
    Professionalization in Haiti." Awarded UGA Office of International Education Grant =
    $4000. December 2010 —December 2015.

    Co-investigator for: "Evaluation of Pharmacy Student Curricular Exposure to
    Global Health Education." January — December 2012

    Primary Investigator for: "Establishing Global Health Collaborations." Awarded
    College of Pharmacy Grant =$2430. August 2010 — 2012.
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  Co-investigator for "Evaluation of Community Acquired Pneumonia Practices at a
  Community Hospital." St Mary's Healthcare System, Athens, GA
  P Kumar, V Fleming, B Buck, R Southwood. July 2009 — 2013

  Athens Regional Medical Center
  Fidaxomicin (Dificid) Medication Usage Evalaution January — February 2013
  Carbapenem Usage Evaluation May — July 2013

  St Mary's Healthcare S.s~em:
  ICU Sedation/Analgesia Guidelines June 2009 — August 2009
  Sepsis Protocol June 2009 — August 2009
  Proton Pump Inhibitor MUE and Criteria for Use. November 2008 — August 2009
  Emergency Department Quality Assessment Review. August — October 2008.

  University of Maryland Medical System and School of Pharmacy:
  "Development and implementation of a post-operative nausea and vomiting
  protocol." (Co-investigator) University of Maryland Medical Center. September 2002
  — July 2003.

  "Analysis of returned scheduled medications—focus on omission errors." (Co-
  investigator) University of Maryland Medical Center. September 2001— May 2002.

  "Development and implementation of a renal dosing and pharmacokinetic
  certification program for institutional pharmacists." (Co-investigator) University of
  Maryland Medical Center. September 2001— Apri12002.

  "Guidelines for medication dosage adjustments in adult critically ill patients
  receiving continuous veno-venous hemofiltration (CVVH) and continuous veno-
  venous hemodialysis:' (Co-investigator)   University of Maryland Medical Center.
  September, 2000 — June 2001.

  "Sedation protocol implementation: impact on patient outcomes." (Co-investigator)
  University of Maryland Medical Center. September, 2000 — June 2001.

  "Community acquired pneumonia protocol implementatiori: impact on patient
  outcomes." (Co-investigator) University of Maryland Medical Center. September,
  2000 — June 2001.

  "Correlation and dose-response relationship between bispectral index (BIS) and the
  sedation agitation score (SAS) in trauma patients." (Co-investigator) University of
  Maryland Medical Center. November, 1999 — June, 2000.

  "Prospective, observational analysis of airway pressure release ventilation (APRV)
  and conventionally ventilated patients: the role of neuromuscular blocking agents:"
  (Co-investigator) University of Maryland Medical Center. November, 1999 — present.

  "Effect of pharmacist counseling on outcomes in asthma patients." (Co-investigator)
  University of Maryland Medical Center. November, 1999 — June, 2000.
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    "National Nosocomial Resistance Surveillance Group: A multi-center, cross-
    sectional study of the prevalence and outcome of E.Coli infections with reduced
    ampicillin/sulbactam susceptibility." (Site Investigator) University of Maryland
    Medical Center. March, 1999 — March, 2000.

    "Validation of a scoring system of sedation drug efficacy in the intensive care unit."
    (Co-investigator) University of Maryland Medical Center. September, 1998 — October,
    2000.

    "Evaluation of the safety and efficacy of a single-daily-dose (SDD) aminoglycoside
    regimen in trauma patients." (Co-investigator), R Adams Cowley Shock Trauma
    Center, University of Maryland Medical System. October, 1998 — October 2000.
    DRIF Grant Fund: $3000 (Poster presented at 1999 SCCM Annual Meeting in San Francisco)

    "Determination and validation of a weight-based heparin dosing nomogram in
    trauma patients."      (Co-investigator) R Adams Cowley Shock Trauma Center,
    University of Maryland Medical System. August, 1997 — July, 1999.

    "Impact of intensive pharmaceutical care on outcomes in trauma patients."
    (Principal Investigator - Residency Research Project) R Adams Cowley Shock Trauma
    Center, University of Maryland Medical System. December, 1995 — June, 1996.

    "Errors of omission in a traditional versus automated patient medication system."
    (Principal Investigator - Residency Research Project) University Medical Center,
    Jacksonville, FL. October, 1994 — June, 1995 (Poster presented at 1995 ASHP Midyear
    Clinical Meeting, Las Vegas, NV)



INVITED LECTURES AND PRESENTATIONS/CONTINUING EDUCATION

    "Optimizing Experiential Student and Resident Layered-Learning: Advancing
    Clinical Pharmacy Services and Preceptor Development." Session Chair and
    Presenter, ASHP Midyear Clinical Meeting, Las Vegas, December 2016 (0.15 CEU)

    "Constructive Feedback Deconstructed: How to Provide Effective Feedback to
    Residency Preceptors." Session Chair and Presenter, ASHP Midyear Clinical Meeting,
    Anaheim, CA, December 2014 (0.1 CEU)

    "Barriers to and Opportunities For Pharmacy Professionalization in Haiti."
    2°d Annual International Conference on Africa: Focus on Globalization. UGA Institute
    For African Studies / UGA Latin American and Caribbean Studies, GA Center for
    Continuing Education, November, 2013

    Pharmacy Residency Preceptor Development Seminar. GSHP Residency Preceptor
    Conference and Residency Showcase, Mercer University, Atlanta, GA, October 2012
    (0.2 CEU)

    Fit and Fabulous: Residency Preceptor Development Workshop "Bootcamp" Style.
    Session moderator and presenter, ASHP Midyear Clinical Meeting, New Orleans, LA,
    December 2011
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  "Barriers to and Opportunities for Improved Pharmacy Professionalization in
  Haiti." University of Georgia Office of International Education. Presentation of Grant
  Research, November 2011

  "Preceptor Developmet Activities to Improve Residency Precepting and
  Communication." GHSU Preceptor Conference, October, 2011.

   Making The Grade: Effective Collaboration Between Academia and Institutional
   Residency Programs. Platform presentation, ASHP National Residency Preceptors'
   Conference, August 2010

   Pharmacy Leadership Opportunities. Provided with Mr. Tad Gomez to Pharmacy
   students and residents at the GSHP Summer Meeting, Amelia lsland, FL, July 2009.

  "Postgraduate Residency Training: Is it for me?"           Provided for GSHP Student
  Chapter Seminar. Athens, GA, October, 2008.

  "Postgraduate Residency Training: Is it for me?" Internet seminar
  (http://uofgeorgia.acrobat.com/residencyprep) provided for pharmacy students for ASHP
  Midyear Preparation. University of Georgia College of Pharmacy (UGA COP), Athens,
  GA. November 2007.

  "Introduction to Postgraduate Residency Training and Curriculum Vitae
  Preparation." Lecture provided to 3ra year pharmacy students. UGA COP P3 Class
  Meeting, Athens, GA. October 2007.

   "Effective Resident Evaluation Techniques." 0.2 CEU. Lecture to pharmacists,
  residents, and students at the Georgia Society of Health-System Pharmacists (GSHP)
  Summer Meeting, Amelia lsland, FL. July 2007.

  "Importance of Developing Mentors." Speech provided to students, faculty, alumni,
  and guests at the University of Georgia College of Pharmacy (UGA COP) Annual
  Pinning Ceremony for 3`d year students, Athens, GA. Apri12007.
  "Issues in Critical Care Pharmacy: Sepsis and Septic Shock; ICU Sedation and
  Analgesia" 0.2 CEU. Lectures presented to pharmacists at the American Pharmacists
  Association Annual Meeting, Atlanta, GA. March 2007.

  "Drug Use in Anesthesiology" /"Review of Neuromuscular Blockiiig Agents."
  Lectures presented to 2nd year students for PHRM 4860 (Disease State Management).
  UGA COP, Athens, GA. March 2007.

  "Residency Training: "Is it for me?" Lecture presented to students for GSHP at Mercer
  University Southern School of Pharmacy, Atlanta, GA. January 2007.

  "Development of a model drug-usage utilization program at a community-based
  institution using enozaparin as a template." Poster presentation (with Dr. Jennifer
  Hunt) — American College of Clinical Pharmacy Annual Meeting, St. Louis, MS. October
  2006.
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  "Pharmacy Practice in a Media and Consumer-Driven Society." Lecture presented to
  members of Crawford Long Museum Board of Directors and general public, Crawford
  Long Museum, Jefferson, GA. September 2006.

  "Promoting Pharmacy Practice and Residency Training to Institutions and the
  General Public." Platform seminar presented at "Telling Your Story 2005: Tips and
  Techniques for Advancing Patient Care through Public Relations. " American Society of
  Health-System Pharmacists (ASHP) Midyear Clinical Meeting, Las Vegas, NV.
  December 2005.

  "Developing improved methods for collecting and communicating allergies of
  hospitalized patients." Poster presentation (with Dr. Bethany Lynch) — ASHP Midyear
  Clinical Meeting, Las Vegas, NV. December 2005.

  "Managing the medication override process in automated dispensing cabinets to
  improve medication safety." Poster presentation (with Dr. Teresa Blakely) — ASHP
  Midyear Clinical Meeting, Las Vegas, NV. December 2005.

  "Winning with the RLS." 0.4 CEU. Workshop presented to pharmacists, residents, and
  residency preceptors for the GSHP Research Forum, Atlanta, GA. August 2005.

  "Residency Training: "Is it for me?" Lecture presented to students at UGA COP,
  Lamda Kappa Sigma Professional Seminar; Athens, GA. March 2005.

  "Residency Learning System Workshop." 0.8 CEU. Workshop Facilitator—ASHP
  Midyear Clinical Meeting, Orlando, FL. December 2004.

  "We are the Magic!" Formal graduation speech presented to 2004 Class of The Wharton
  Executive Management Program for Pharmacy Leaders. Wharton School of Business,
  University of Pennsylvania, Philadelphia, PA. September 2004.

  "Residency Learning System Workshop." 0.8 CEU. Workshop Facilitator—ASHP
  National Preceptors' Conference, San Diego, CA. August 2004.

  "Recruiting, Training, and Retaining Pharmacy Residents in a White Water
  World." Lecture presented to VHA Pharmacy Council, GSHP Fall Meeting, Helen, GA.
  October 2004.

  "Residency Training: "Is it for me?" Lecture presented to lst year pharmacy students
  UGA COP, Athens, GA. Apri12004.

  "Prevention of Medication Errors in the Hospitalized Patient." 56th Annual
  Postgraduate Pharmacy Spring Seminar for Health Care Professionals. UGA COP,
  Athens, GA. April 2004.

  "Residency Learning System." 0.8 CEU. Workshop Facilitator — ASHP IVlidyear
  Clinical Meeting, New Orleans, LA. December 2003.
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  "Review of Medication Safety Principles." Lecture provided to School of Pharmacy
  Faculty, Baltimore City Residents, and Residency Program Preceptors, University of
  Maryland School of Pharmacy, Practice Management Seminar Series, Baltimore, MD.
  Apri12003.

  "Pharmacologic Review of Respiratory Tract Antibiotics." 0.1 CEU. Faculty
  Lecturer—University of Maryland School of Medicine, Division of Pulmonary and
  Critical Care Medicine Continuing Medical Education Program, Baltimore, MD.
  September 2002.

  "Residency Learning System." 0.8 CEU. Workshop Facilitator — ASHP National
  Preceptors' Conference, San Diego, CA. August 2002.

  "Residency Learning System." 0.8 CEU. Workshop Facilitator — Pennsylvania Society
  of Health-System Pharmacists (PSHP) Clinical Meeting, Pittsburgh, PA. March 2002.

  "Update on Insomnia Management." Lecture presented to Department of Internal
  Medicine and Ambulatory Medicine, University of Maryland Medical Center, Baltimore,
  MD. January 2002.

  "UMMC Department of Pharmacy JCAHO Preparedness." Presentation made to
  Medical Center Vice-Presidents, Medical Directors, Departmental Managers, and CEO,
  University of Maryland Medical Center. January 2002.

  "Residency Learning System." 0.8 CEU. Workshop Facilitator — American Society of
  Health-System Pharmacists (ASHP) Midyear Clinical Meeting, New Orleans, LA.
  December 2001.

  "Residency Learning System." 0.8 CEU. Workshop Facilitator — Eastern States
  Conference for Pharmacy Residents and Preceptors, Baltimore, MD. April 2001.

  "Residency Learning System." 0.8 CEU. Workshop Facilitator — American Society of
  Health-System Pharmacists (ASHP) Midyear Clinical Meeting, Las Vegas, NV.
  December 2000.

  "Community Acquired Pneumonia and Pathway Implementation/Management".
  0.2 CEU. Lecture presented to Maryland and West Virginia Clinical
  Pharmacists/Pharmacy Directors, Baltimore, MD. November 2000.

  "Update on Insomnia Management." Lecture presented to Department of Internal
  Medicine and Ambulatory Medicine, University of Maryland Medical Center. August
  2000.

  "Review of Amiodarone use in ACLS." Lecture presented to Department of Pharmacy
  Services, University of Maryland Medical Center. July 2000.

  "Community Acquired Pneumonia." Grand Rounds Lecture presented to Department
  of Intennal Medicine, Harbor Hospital, Baltimore, MD. Apri12000.
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  "Review of Sedation and Paralysis Guidelines." Multiple Lectures presented to
  Department of Pharmacy Services, University of Maryland Medical Center. January
  2000.

  "Residency Learning System." 0.8 CEU. Workshop Facilitator — ASHP Midyear
  Clinical Meeting, Orlando, FL. December 1999.

  "Residency Learning System." 0.8 CEU. Workshop Facilitator — Eastern States
  Conference for Pharmacy Residents and Preceptors, Baltimore, MD. April 1999.

  "Determination of a weight-based heparin nomogram for trauma patients." Poster
  presentation — Society of Critical Care Medicine 28th Educational & Scientific
  Symposium, San Francisco, CA. January 1999.

  "Principles of sedation and neuromuscular blockade in pulmonary medicine
  patients and review of ICU sedative and neuromuscular blocking agents." Lecture
  presented to faculty, fellows, and physicians at the Annual Department of Pulmonary
  Medicine Conference, University of Maryland Medical System, Baltimore, MD.
  September 1998 — September 2002.

  "Advances in pharmacologic management of acutely-ill patients." Faculty Member —
  High Acuity Medical/Surgical Nursing Conference, Washington, DC. October 1997.

  "Pharmacotherapy review for intermediate care patients." Medical Intermediate
  Care Program for Registered Nurses. University of Maryland Medical System,
  Baltimore, MD. December 1996 — January 1997.

  "Sedation and paralysis of critically ill patients." Monthly lecture to Medical ICU
  house staff. Medical Intensive Care Unit, University of Maryland Medical System,
  Baltimore, MD. September 1996 — May 2003.

  "Drug therapy related acute renal dysfunction and drug dosing in renal failure."
  Quarterly Lecture to Nontraditional Doctor of Pharmacy Candidates PHNT 540
  (Advanced Therapeutics). University of Maryland School of Pharmacy, Baltimore, MD.
  October 1996 —1998.

  "Update on sepsis and septic shock." Annual lecture to pharmacy students for PCLN
  449 (Critical Care Therapeutics). University of Maryland School of Pharmacy,
  Baltimore, MD. May 1996 —1999.

  "Impact of intensive pharmaceutical care on outcomes in trauma patients."
  Presentation of residency research — Eastern States Conference for Residents and
  Preceptors, Baltimore, MD. April, 1996.

  "Strategies for preventing omission errors in an automated patient medication
  system." Platform presentation — ASHP Midyear Clinical Meeting, Las Vegas, NV.
  December, 1995.
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GRADUATE PHARIYIACY RESIDENTS TRAINED/CURRENT POSITION

2007-2008
W Josh Guffey, Pharm.D., Clinical Assistant Professor, UNC College of Pharmacy, Chapel Hill,
NC.
Amber N. Watts, Pharm.D., Clinical Assistant Professor, Community Practice, Texas A&M
University, College Station, TX.

2006-2007
Patricia Powell, Pharm.D., Clinical Associate Professor, Community Practice, South Carolina
College of Pharmacy, Columbia, SC

2005-2006
Jennifer A. Hunt, Pharm.D., Clinical Pharmacist, Internal Medicine, Waccamaw Community
Hospital, Murrell's Inlet, SC

2004-2005
Bethany A. Lynch, Pharm.D., Clinical Specialist, Neonatology, Medical College of Georgia
Medical Center and Clinics, Augusta, GA

2002-2003
Elizabeth Cincotta, Pharm.D., Cardiology Specialist, Henry Ford Hospital, Detroit, MI
Stephany Chen, Pharm.D., Pediatric Clinical Pharmacist, Sinai Medical Center, Baltimore, MD
Viet Ho, Pharm.D., Hematology/Oncology Specialist and RPD, Moffitt/Tampa Medical Center,
Tampa, FL
Leila Mohassel, Pharm.D., Oncology Clinical Specialist, Inova Fairfax Health System, Fairfax,
VA

2001-2002
Nicole C. Casselberry, Pharm.D., Primary Care Specialist, VA Asheville, NC.
Yoo Jung Chang, Pharm.D., Pediatric Clinical Pharmacist, Greater Baltimore Medical Center,
Baltimore, MD
Akilah F. Strawder, Pharm.D., Accreditation Specialist, Accreditation Services Division, ASHP,
Bethesda, MD.

2000-2001
Gail M. Burniske, Pharm.D., Internal Medicine Specialist, Boston Medical Center, Boston, MA
Kimberley A. Cantalupe, Pharm.D., Clinical Pharmacist/Antibiotics Coordinator, Infectious
Disease, Hershey Medical Center, Hershey, PA
Che' J. Jordan, Pharm.D., Critical Care Pharmacy Specialist, Florence, SC
Romy Mavumkal, Pharm.D., Ambulatory Care Specialist, Alexandria, VA
Brady S. Moffett, Pharm.D., Pediatrics Specialist and RPD, Texas Children's Hospital, Houston,
TX
Hazel Sun, Pharm.D., Clinical Pharmacist, Internal Medicine/Ambulatory Care, Walter Reed
Army Medical Center, Bethesda, MD
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1999-2000
Seth P. Brownlee, Pharm.D., BCPS Clinical Specialist, Surgery/Critical Care, Lutheran General
Medical Center and Midwestem University, Chicago, IL
Allison M. Chung, Pharm. D., Associate Professor, Women and Children's Health and PGY1
Pediatrics RPD, Auburn University College of Pharmacy, Mobile, AL
Anne C. Ferri, Pharm.D., Consultant Clinical Pharmacist, Ferri Pharmacy, Murraysville, PA
Nicoe FranklinMcCoy, Pharm.D., Director of Pharmacy, University of Maryland Medicine /
Kernan Rehabilatory Institute, Baltimore, MD
Laura Atkins, Pharm.D., BCPS Clinical Pharmacy Manager and RPD, Rockingham Memorial
Hospital, Harrisonburg, VA
Deborah A. Sarama, Pharm.D., Clinical Pharmacist (part-time), Oncology, University of
Maryland Medical Center, Baltimore, MD; Community Pharmacist (part-time), Target
Pharmacy, Columbia, MD.

1998-99
Kimberly A. Couch, Pharm.D., Clinical Specialist, Infectious Disease, Christiana Care
Health System, Newark, DE
Aliya F. Mansoor, Pharm.D., Clinical Specialist, Adult Internal Medicine, Union Memorial
Medical Center Baltimore, MD
Maura L. Osborne, Pharm.D., BCPS, Clinical Manager, Owen Healthcare, Mercy Health
Partners, Wilkes-Barre, PA   '
Lynell M. Wright, Pharm.D., Clinical Pharmacist, Ambulatory Care / Internal Medicine,
Washington Hospital Center, Washington, DC

1997-98
Maryam Behta, Pharm.D., Clinical Specialist, Infectious Disease, Cornell University
Hospital, New York, NY
Mary E. Regan, Pharm.D., Clinical Specialist, MedicaUSurgical Intensive Care, Boston Medical
Center, Boston, MA

CRITICAL CARE RESIDENTS PBECEPTED/CURRENT POSITION:
1998-99
CPT Steven S. Carlisle, Pharm.D., BCPS, Critical Care Clinical Pharmacy Specialist, Director,
Pharmacy Residency Program, Willford Hall USAF Base, San Antonio, TX
2000-2001
Seth P. Brownlee, Pharm.D., BCPS Critical Care Pharmacy Specialist, Surgery, Midwestern
University/Lutheran General Hospital, Chicago, IL
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NATIONAL, REGIONAL, LOCAL PROFESSIONAL MEMBERSHIPS / ACTIVITIES

2010 — 2016      Invited External Promotion Reviewer
                 University of Iowa College of Pharmacy (2014)
                 University of Tennessee College of Pharmacy (2010)

2006 — 2015      American Association of Colleges of Pharmacy
                 African Collaboration SIG (2011-2014)

1992 — present   American Society of Health-System Pharmacists (ASHP)

                 Member, Section of Clinical Pharmacy Specialists
                 (1996-present)
                 Appointed / Invited Member Section Advisory Group for Precepting /
                 Preceptor 1)evelopment (2012-14)

                 Accreditation Services Division / Commission on Credentialing Guest
                 Surveyor (2002-2012)
                 Residenc~~grams surveyed:
                 University of Arizona Medical Center and College of Pharmacy PGYI
                 programs, May 2011
                 Southeastern Regional Medical Center, Lumberton, NC, PGY1 Pharmacy,
                 November, 2010
                 SUNY Buffalo College of Pharmacy, PGY1 Pharmacy, October 2010
                 Loma Linda (CA) VA Medical Center, PGYI Pharmacy, September 2010
                 St Elizabeth Health Care PGYl Pharmacy, Florence KY, Apri12010
                 Huntsville Hospital, PGY1 Pharmacy, Huntsville, AL, October, 2009
                 Lakeland (FL) Regional Medical Center, PGYI Pharmacy, February 2009
                 Valley Medical Center, Renton, WA, PGY1 Pharmacy, January 2009
                 New Hanover Regional Medical Center, Wilmington, NC, PGY1
                 Pharmacy, May 2008
                 Norman (OK) Regional Medical Center, PGY1 Pharmacy, March 2008
                 University of Oklahoma (Tulsa), PGY1 Pharmacy, June 2007
                 Franciscan Healthcare, PGY1 Pharmacy, November 2006
                 Multicare Health System, PGYI Pharmacy, November 2006
                 Choctaw Reservation Health Services, Pharmacy Practice, April 2005
                 Summa Healthcare, Pharmacy Practice, Apri12005
                 University of Wyoming, Pharmacy Practice, June 2003
                 University of Minnesota, Pharmacy Practice, September 2002
                 Mayo Clinic (Minnesota), Pharmacy Practice, September 2002

                 Residency Learning System (RLS) National Facilitator (1998-2006)
                 RLS Workshops taught: 12 Preceptors trained: — 500

                 Article/Continuing Education Field Tester (1998-present)
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1996 — 2011        Regional Pharmacy Residency Conference Board Membership:
2006 — 2011        Southeastern States Regional Residency Conference
                   Advisory Board Member (2006 — 2010)
                   Program Chair (2008-2009)
1996 — 2004        Eastern States Conference for Pharmacy Residents and Preceptors
                   Board Member (1996-2004)
                   Vice Chair / Facilities Chair (2001-2004)
                   Program Chair (1999-2000) Theme: "Commitment to Leadership "

2004 — present     Georgia Society of Health-System Pharmacists (GSHP)
                   Elected Delegate to ASHP Congress of Delegates (2009)
                   Student and Resident Affairs Committee (2005-present)

1995 — 2016        Society of Critical Care Medicine (SCCM)
                   Clinical Pharmacy/Pharmacology Section (1996-present)
                   Manuscript Reviewer (1997-2003)

2007 — present     Journal article reviewer
                   Arricles reviewed:
                   "A qualitative study of herbal medicine use in Ukraine: Implications for
                   US pharmacy practice." Journal of Pharmacy Practice. Reviewed
                   August, 2011; "First year residency candidates' perceived level of
                   experience in various areas of pharmacy practice." American Journal of
                   Pharmacy Education. Reviewed December 2007

2004 — 2008        UGA College of Pharmacy Alumni Association
                   President (2006-2007)
                   President-elect (2005-2006)

1995 — 2009        American College of Clinical Pharmacy (ACCP)

2006 — 2010        Georgia Pharmacists Association (GPhA)
                   Academy of Health-System Pharmacists (2009 — 2010)
                   Board of Directors (2007 — 2009)
                   Student and Resident Affairs Committee (2007 — 2010)

2006 — present     R C Wilson Pharmacy Association, Athens, GA
2005 — present     American Pharmacists Association


UNIVERSITY OF GEORGIA ACADEMIC COMMITTEES/RESPONSIBILITIES

2006 — 2016      COP Academic and Professionalism Committee (2013-present)
                 COP Teacher of the Year Selection Committee (2010-2014)
                 COP Director of Residency Programs, Chair, UGA Residency Program
                 Directors' Committee (2006-11)
                 COP Curriculum Committee (2009-2012), Chair (2010-11)
                 COP Alumni Association Board (2004-2008)
                 Pharmacy School Addition Planning Committee (2006-2007)
                 COP Faculty Council (2006-09)
                 COP Faculty Advisor (Kappa Psi, ASHP/GSHP Student Society)
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NORTHEAST GEORGIA HEALTH SYSTEM COMMITTEES/RESPONSIBILITIES

2003 — 2006   NGHS Activities to Improve Pharmaceutical Care (most programs and
              processes are ongoing):
              ➢ Co-Chair the Strategic PI Task Force charged with improving service
                 efficiency and effectiveness and cutting expenses by $2.2 million (This
                 project was completed successfully with 0.0 FTEs cut from Pharmacy
                 Services)
              ➢ Chair Medication Administration Project—Medication Reconciliation
                 Process (completed Summer 2006)
              ➢ Serve as member of Medication Integrity Management Committee,
                 Medication Error Workgroup, P&T Committee, JCAHO Continuous
                 Survey Readiness Team, Resuscitation Committee, Orientation/Training
                 Committee, Performance Improvement Network
              ➢ Justified/ developed / implemented NGHS Residency Program using RLS
                 Model
              ➢ Justified / developed / implemented Perioperative / Women and Children's
                 Health Pharmacy Services
              ➢ Created "Override" team, a multidisciplinary practice group, to review
                 override process for automated medication dispensing in the patient care
                 area. This team developed an objective tool to process override requests
                 which won the 2004 PHA Patient Safety Award
              ➢ Developed Pharmacy Safety Team to review errors routinely and develop
                 solutions to prevent errors and promote patient safety


UNIVERSITY OF MARYLAND COMMITTEES/RESPONSIBILITIES

1998 — 2003   UMMC Activities to Improve Pharmaceutical Care:
              ➢ developed/advanced OR Pharmacy Practice at UMMC
              ➢ worked with UMMC Perioperative Services/Anesthesiology for "OR of
                the Future" facilities planning
              ➢ worked with Anesthesia to improve controlled substance waste
                documentation
              ➢ lead reaccreditation of Residency Programs at UMMC (Full re-
                accreditation awarded October 2002)
              ➢ managed UMMC JCAHO Medication Use preparedness (Final score: 91);
                member UMMC JCAHO Oversight Committee
              ➢ revised and developed numerous operational P&P
              ➢ developed Pharmacist/Technician responsibility grids
              ➢ re-engineered Medication Error/ADE process
              ➢ developed MEADE Advisory Committee, a multidisciplinary
                subcommittee of P&T which monitored, evaluated ADEs, and provided
                institutional plans for improved patient safety
              ➢ developed/implemented pre-printed order form safety checklist
              ➢ developed unacceptable, dangerous abbreviations list for UMMC
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                  (approved Information Management Committee, subcommittee of Medical
                  Staff, Apri12002)
              ➢   revised/rewrote Pharmacy Scope of Service document and Mission,
                  Vision, and Values Statements
              ➢   developed UIVIMC Pharmacy Residency website
              ➢   worked with Clinical Manager and Clinical Effectiveness to implement
                  cost savings projects
              ➢   worked with Nursing through Nursing/Pharmacy and Pharmacy/Clinical
                  Practice Committees (developed several practice protocols—dose ranges)
              ➢   developed/implemented system-wide ICU sedation protocol
              ➢   developed/implemented head trauma pathway
              ➢   re-implemented UMMC ACLS/Resuscitation Team
              ➢   developed drug shoratge plans
              ➢   developed orientation/competency checklists for pharmacists
              ➢   developed/implemented community acquired pneumonia protocol
              ➢   developed UMMC policy for environmental exposure to aerosolized
                  ribavirin
              ➢   developed/implemented nurrierous MICU medication protocols (once-
                  daily aminoglycosides, haloperidol, propofol, sedation/analgesia)
              ➢   participated in the following patient care committees:
2001 — 2003       Pharmacy Leadership/Management Team
2001 — 2003       UMMC Safety/Risk Reduction Committees
2001 — 2003       UMMC JCAHO Oversight Committee/Care and Assessment
                  Survey result = 91 (July, 2002)
2001 — 2003       UMMC Information Management Group (Forms Committee)
2001 — 2003       UMMC Pharmacy/Nursing Committees (PI and CPC)
2001 — 2003       Surgical Critical Care Committee
2001 — 2002       UMMC Head Trauma Pathway Committee
2001 — 2003       UMIVIC Resuscitation Committee
2001 — 2003       UMMC ICU Sedation Committee
2001 — 2003       Chair, UMMC Pharmacy Deparhnent Vision Team
2000 — 2003       Designer / Author, UMMC Pharmacy and Pharmacy Residency Web Page
                  (www.umm.edu/phannacy)
1999 — 2000       CAP Pathway Committee
2000 — 2003       UMMC Industry Advisory Council
1998 — 2003       Residency Learning System Facilitator, University of Maryland Medical
                  System, Department of Pharmacy
1997 — 2003       Program Director, Pharmacy Practice Residency
                  Director, Pharmacy Residency Committee,
                  University of Maryland Medical Center
                          Residency Re-accreditation Team Leader (October 2002)
                          Residency Re-accreditation Team (October 1996)
                          Resident/Student Preceptor for Critical Care 1Vledicine (MICU)
1997 — 2003       Residency Committees, University of Maryland School of Pharmacy,
                  Baltimore City Residency Committee, Baltimore, MD
1997 — 2000       Coordinator, Pharmacist Orientation to Shock Trauma Pharmacy
1997              Medical ICU/Oncology ICU Transition Committee
1997 — 2002       Medical ICU Quality Management Committee
1997 — 2002       Medical ICU Clinical Practice Committee (Coordinator, RN Medication
                  Inservices)
1996 — 2002       Coordinator, ICU Sedation/NMBA Guidelines Education/Implementation
   Case 1:23-mi-99999-UNA Document 2897-5 Filed 09/08/23 Page 32 of 43

1996 — 2002         Pulmonary Medicine/1Vledical ICU Housestaff Lecture Series on ICU
                    Sedation
1996                UMMC Nursing Intermediate Care Teaching Program
1996 —1998 '        Asthma Clinical Pathway Committee
1996 —1998          Upper/Lower GI Bleed Clinical Pathway Committee

COMMUNITY SERVICE

      Brian Dale Buck University of Georgia Cinical Endowment Fund (2007 — present)
      Volunteer, "In Their Shoes" Breast Cancer Walk for Lauren Smith Cancer Center,
      Athens Regional Medical Center, Athens, GA (October 2012 - present)
      Humane Society Annual Benefit, Athens, GA (2008 — present)
      Athens AIDS Walk, UGA Faculty Advisor (Total $ raised to date —$20,000) 2008-2010
      AIDS Athens Volunteer (2007 — present)
      UGA College of Pharmacy Health Fair, St. Joseph's Catholic Church, Athens, GA, 2007
      AIDS Athens Festival For Life Fundraiser 2007, 2008, 2009
      Mercy Clinic Pharmacy Practice Volunteer 2006-2007
      Dawgtoberfest College of Pharmacy Health Fair Advisor 2006-2009
      NGHS Residency Program Community Service Projects, 2004 — 2006
      Eucharistic Minister and Lector, Basilica of the Assumption of the Blessed Virgin Mary,
      Baltimore, MD, 1999 — 2003
      UMMS Residency Program Community Service Projects, 1997 — 2003

CERTIFICATION AND LICENSURE

      Licensure            GA #17202


REFERENCES (Provided upon request)
            Case 1:23-mi-99999-UNA Document 2897-5 Filed 09/08/23 PageState
                                                                       33 of  43 of Fulton County
                                                                            Court
                                                                                                                        **E-FILED**
                                                                                                                       23EV004834
                                                                                                                  8/8/2023 2:29 PM
                        General Civil and Domestic Relations Case Filing Information Form
                                                                                                                Donald Talley, Clerk
                                                                                                                      Civil Division
                           ❑   Superior or X State Court of          Fulton                    County

       For Clerk Use Only

       Date Filed                                              Case Number
                          MM-DD-YYYY

Plaintiff(s)                                                    Defendant(s)
Johnson, Andre R.                                               The Kroger Co.
Last          First             Middle 1.    Suffix   Prefix       Last           First         Middle I.   Suffix   Prefix


Last          First             Middle 1.    Suffix   Prefix       Last           First         Middle 1.   Suffix   Prefix


Last          First             Middle I.    Suffix   Prefix       Last           First         Middle I.   Suffix   Prefix


Last          First             Middle I.    Suffix   Prefix       Last           First         Middle 1.   Suffix   Prefix


Plaintiff's Attorney Paul I. Hotchkiss .                        State Bar Number 368424                Self-Represented ❑

                      Check one case type and one sub-type in the same box (if a sub-type applies):

       General Civil Cases
                                                                          Domestic Relations Cases
        ❑       Automobile Tort
                                                                          ❑      Adoption
        ❑       Civil Appeal
                                                                          ❑      Contempt
        ❑       Contempt/Modification/Other
                                                                                 ❑  Non-payment of child support,
                Post-Judgment
                                                                                 medical support, or alimony
        ❑       Contract
                                                                          ❑      Dissolution/Divorce/Separate
        ❑       Garnishment
                                                                                 Maintenance/Alimony
        ❑       General Tort
                                                                          ❑      Family Violence Petition
        ❑       Habeas Corpus
                                                                          ❑      Modification
        ❑       Injunction/Mandamus/Other Writ
                                                                                 ❑ Custody/Parenting TimeNisitation
        ❑       Landlord/Tenant
                                                                          ❑      Paternity/Legitimation
        X       Medical Malpractice Tort
                                                                          ❑      Support — IV-D
        ❑       Product Liability Tort
                                                                          ❑      Support — Private (non-IV-D)
        ❑       Real Property
                                                                          ❑      Other pomestic Relations
        ❑       Restraining Petition
        ❑       Other General Civil

❑       Check if the action is related to another action pending or previously pending in this court involving some or all of
        the same: parties, subject matter, or factual issues. If so, provide a case number for each.


                Case Number                                     Case Number


X       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in OCGA § 9-11-7.1.

❑       Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                                            Language(s) Required


❑       Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                       Version 1.1.20
      Case 1:23-mi-99999-UNA Document 2897-5 Filed 09/08/23 PageState
                                                                 34 ofCourt
                                                                       43 of Fulton County
                                                                                                 **E-FILED**
                                                                                                23EV004834
                                                                                           8/8/2023 2:29 PM
                                                                                         Donald Talley, Clerk
                                                                                               Civil Division
                         IN THE STATE COURT OF FULTON COUNTY
                                   STATE OF GEORGIA

 ANDRE R. JOHNSON,

         Plaintiff,                              )
                                                 )     CIVIL ACTION FILE
 V.                                              )     NO.
                                                 )
 THE KROGER CO.,                                 )
                                                 )     JURY TRIAL DEMANDED
         Defendant.                              )

 PLAINTIFF'S FIRST SETS OF CONTINUING INTERRGATORIES AND REQUESTS
         FOR THE PRODUCTION OF DOCUMENTS TO DEFENDANT

        PlaintiffAndre R. Johnson, pursuant to O.C.G.A. §§ 9-11-26, -33, and -34, hereby requests

that Defendant The Kroger Co. answer these Interrogatories and Requests for Production of

Documents pursuant to requirements of the Georgia Civil Practice Act within 45 days of service.

                                    INTERROGATORIES

                                               1.

        Please describe, with sufficient particularity to permit you to respond to a Request for

Production of Documents, all records, writings or memoranda known to you which relate to any

pharmaceutical services accomplished by you in connection with Andre R. Johnson, and please

state the name, address and telephone number of the custodian of all such matters. In the

alternative, please attach a copy of all such records, writings or memoranda to your answers to

these Interrogatories.
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                                                  2.

        Within the past 10 years, have you been a defendant in a civil lawsuit, other than the present

action, regarding the alleged negligent dispensing of a medication for which the customer did not

have a prescription? If so, please state the names of the parties to the lawsuit, the court in which

the lawsuit was filed, the date of filing, the nature of the litigation, and the ultimate resolution of

the action, e.g., any amounts paid in settlement or any amounts rendered in judgment.

                                                  3.

       Please state whether or not you have any liability policy of insurance which is extending

coverage to you which may be applicable to the litigation which is the subject matter of Plaintiff's

Complaint and, for each such policy, please state:

               a. the named insured on each such policy;

               b. the policy number of each such policy;

               c. the name of each insurance company which issued a policy; and

               d. the limits of liability and the types of coverage provided under each applicable

               liability policy.

Note: Please do not merely refer to a produced declarations page.

                                                  4.

       Please state the name, address and telephone number of all persons whom you expect to

call or may call as an expert witness at trial. This includes any of Andre R. Johnson's treating

medical care providers from whom you may elicit standard of care or causation testimony. With

respect to each such person, please state:

               a. the specific subject matter on which you expect such expert to testify;




                                                  -2-
   Case 1:23-mi-99999-UNA Document 2897-5 Filed 09/08/23 Page 36 of 43




               b. the substance of the facts, opinions and conclusions to which you expect such

               expert to testify;

               c. a summary of the factual grounds for each such opinion or conclusion.

                                                 5.

       Please state the names, addresses, home telephone numbers, places of employment, job

titles or capacities, and present whereabouts of all persons having knowledge of relevant

information, facts, or circumstances in this case known to you.

                                                6.

       Please state the names, addresses, home telephone numbers, places of employment, job

titles or capacities, and present whereabouts of all persons who have given written statements

covering the facts and circumstances in the incident which is the subject matter of this litigation,

listing for each such statement the date of same and by whom said statement was given.

                                                7.

       Please provide a detailed factual basis for each defense asserted by you in your Answer to

Plaintiff s Complaint.



       If you contend that any other person or entity was negligent in causing the injuries claimed

in the Complaint,

               a. please state the full name and last known address and telephone number of that
                  ~
               person or entity; and

               b. please state all facts which support such a contention.




                                                -3-
   Case 1:23-mi-99999-UNA Document 2897-5 Filed 09/08/23 Page 37 of 43




                                                9.

       If you contend that Andre R. Johnson was negligent or that her actions or inactions resulted

in the injuries claimed in the Complaint, please state and identify all facts that support such

contentions.

                                               10.

       Are there any incident reports which relate, in any way, to Andre R. Johnson? If so, please

identify them.

                                               11.

       If you contend that you have not been properly served with process, please provide a

detailed factual explanation of why and how service was improper.

                                               12.

       Please state the date on which you first anticipated litigation regarding the events alleged

in the Complaint.

                                               13.

       Identify the pharmacist(s) who filled and dispensed Levetiracetam (100 Mg/MI) to Andre

R. Johnson on the following dates:

       (a) January 8, 2021;

       (b) February 17, 2021;

       (c) March 20, 2021;

       (d) April 17, 2021;

       (e) May 17, 2021;

       (f) August 6, 2021;

       (g) September 9, 2021;




                                               Ce
   Case 1:23-mi-99999-UNA Document 2897-5 Filed 09/08/23 Page 38 of 43




       (h) October 8, 2021;

       (i) November 14, 2021; and

       (j) December 23, 2021.

                                                14.

       For each pharmacist identified in response to Interrogatory No. 12, above, please state

whether or not that pharmacist was your employee and/or agent on the date(s) that he/she filled

and dispensed Levetiracetam (100 Mg/MI) to Andre R. Johnson.

                                                15.

       Identify all orders, guidelines, and/or policies and procedures in effect in 2021 applicable

to the dispensing of appropriate medications to patients, i.e., the specific mediation and dosage for

which the patient has a prescription.

                                                16.

       Identify all training you provide to your pharmacists with regard to the dispensing of

appropriate medications to patients, i.e., the specific mediation and dosage for which the patient

has a prescription.

                                                17.

       Identify the computer software system(s) in use at the pharmacy within the Kroger store

located at 12460 Crabapple Road in Alpharetta, Fulton County, Georgia, in 2021, and the vendor

or IT company used for maintenance of said computer software system(s).

                                                18.

       Identify the date upon which you first became aware of the filling and dispensing errors

that are the subject of Plaintiffs Complaint.




                                                 -5-
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                              REQUESTS FOR PRODUCTION

                                               1.

       Please produce a complete copy (and not just the declarations page) of each and every

policy of liability insurance identified in your response to Plaintiff's First Set of Continuing

Interrogatories.

                                               2.

       Please produce a certified copy of all medical and pharmacy records, telephone records,

telephone logs, notes, films, images, emails, and all other documents in your or your attorney's

possession that pertain to Andre R. Johnson and/or the events at issue in the Complaint.

                                               3.

       Please produce a copy of your trial expert(s)' curriculum vitae, and all correspondences

and materials provided to or exchanged between you or your counsel and your trial expert(s) that

pertain to Andre R. Johnson and/or the events at issue in the Complaint.

                                               4.

       Please produce all documents identified by you in response to Plaintiff's First Set of

Continuing Interrogatories.

                                               5.

       Please produce all documents in your possession, custody or control which relate in any

way to Andre R. Johnson and/or the events at issue in the Complaint that otherwise are not

included in the documents provided in response to Request No. 2, above.

                                               6.

       Please produce all correspondence, including but not limited to email correspondence and

text messages, sent to or received from Andre R. Johnson or his mother, Giovanna Johnson, by




                                               res
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you, your agents, or your employees.

                                                  7.

        Please produce all documents generated and submitted by you, your agents and/or

employees in order to receive payment for the services provided to Andre R. Johnson.

                                                  ~~


       Please produce any and all mcident reports which in any way relate to Andre R. Johnson.

                                                  a

       For each pharmacist identified in your response to Interrogatory No. 13 of Plaintiff's First

Set of Continuing Interrogatories, please provide his/her personnel/employee file.

                                                 10.

       Please produce copies of all written orders, guidelines, and/or policies and procedures in

effect in 2021 applicable to the dispensing of appropriate medications to patients, i. e., the specific

mediation and dosage for which the patient has a prescription.

                                                 11.

       Please produce copies of all manuals, instructions, guides, training materials, and the like,

pertaining to the computer software system(s) identified by you in response to Interrogatory No.

17 of Plaintiff's First Set of Continuing Interrogatories.

                                                 12.

       Please produce all training materials provided to your pharmacists or used by you to train

your pharmacists regarding the dispensing of appropriate medications to patients, i.e., the specific

mediation and dosage for which the patient has a prescription.




                                                  -7-
   Case 1:23-mi-99999-UNA Document 2897-5 Filed 09/08/23 Page 41 of 43




                                               13.

       Please provide the following for each document that is responsive to the foregoing

requests for production but is not being produced to Plaintiff on grounds that it is privileged or

otherwise protected:

       a. Date of document;

       b. Type of document;

       c. Author of document; and

       d. Grounds for not producing the document to Plaintiff.

       This 8th day of August, 2023.

                                                      /s/Paull. Hotchkiss
                                                      Paul I. Hotchkiss
                                                      Georgia Bar No. 368424
                                                      Maggie L. Stewart
                                                      Georgia Bar No. 681630
 HOTCHKISS LAW FIRM LLC
 185 E. Lake Ter. SE
 Atlanta, GA 30317
 Telephone: 706-424-1013
 paul@hotchlcisslawfin-n.com
 maggiena,hotchkisslawfirm.com
                                                     AttoYneys for Plaintiff




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                                                .
                                                                                Court of Fulton County
                Case 1:23-mi-99999-UNA Document 2897-5 Filed 09/08/23 PageState
                                                                            42 of 43       **E-FILED**
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GEORGIA, FULTON COUNTY
                                                                                                                                        Donald Talley, Clerk
                                                                                                                                              Civil Division
STATE COURT OF FULTON COUNTY                                             CIVIL ACTION FILE #:
                 Civil Division



                                                                                                                      AMOUNT OF SUIT

Andre R. Johnson                                                                ]ACCOUNT                        PRINCIPAL $
c/o Hotchkiss Law Firm LLC, 185 E. Lake Ter. SE                                 ]CONTRACT
                                                                                ]NOTE                           INTEREST $
Atlanta, GA 30317
                                                                                ]TORT
PlaintifPs Name, Address, City, State, Zip Code                                 ] PERSONAL INJURY              ATTY. FEES $
                                                                                ] FOREIGN JUDGMENT
                                                                                ]TROVER                        COURT COST $
                          vS.
                                                                                ] SPECIAL LIEN

The Kroger Co.
                                                                             [ ] NEW FILING
c/o CSC of Cobb County, Inc., 192 Anderson Street SE,                        [ ] RE-FILING: PREVIOUS CASE N0.

Ste.125,     Marietta              GA         30060

Defendant's Name, Address, City, State, Zip Code


               SUMMONS
TO THE ABOVE NAMED-DEFENDANT:
 You are hereby required to file with the Clerk of said court and to serve a copy on the PlaintifPs Attorney, or on Plaintiff if no Attorney, to-wit:
Name: Paul I. Hotchkiss, Esq., Hotchki'ss Law Firm, LLC
Address: 185 E. Lake Ter, SE
City, State, Zip Code: Atlanta, GA 30317                                                     Phone No.: (706) 424-1013

An answer to this complaint, which is herewith served upon you, must be filed within thirty (30) days after service, not counting the day of service. If you
fail to do so, judgment by default will be taken against you for the relief demanded in the complaint, plus cost of this action. DEFENSES MAY BE MADE &
JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., S.W.,
Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                                        Donald Talley, Chief Clerk (electronic signature)




SERVICE INFORMATION:
Served, this            day of _                           20
                                                                               DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

WRITE VERDICT HERE:
We, the jury, find for _



This             day of                                  20                                                                Foreperson



                                                         (STAPLE TO FRONT OF COMPLAINT)
                                                                                                                                           State Court of Fulton County
        Case 1:23-mi-99999-UNA Document 2897-5 Filed 09/08/23 Page 43 of 43                                                                                  **E-FILED**
                                                                                                                                                            23EV004834
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                                                                                                                                                   Donald Talley, Clerk
                                                                                                                                                           Civil Division

                                                                    AFFIDAVIT OF SERVICE
State of Georgia                                                              County of Fulton                                                State Court
Case Number: 23EV004834
Plaintiff: Andre R. Johnson
VS.
Defendant: The Kroger Co.
For:
Paul Hotchkiss
HOTCHKISS LAW FIRM LLC
185 E. Lake Ter. SE
Atlanta, GA 30317
Received by Ancillary Legal Corporation on the 10th day of August, 2023 at 1:20 pm to be served on The
Kroger Co. clo CSC of Cobb County, Inc. Reg Agent, 192 Anderson St SE, Suite 125, Marietta, GA
                                                                             -


30060.

I, Jerald Luster, being duly sworn, depose and say that on the 11th day of August, 2023 at 10:38 am, l:

served The Kroger Co. clo CSC of Cobb County, Inc. - Reg Agent by delivering a true copy of the
Summons, Complaint, Exhibit 1 & A, Plaintiff's First Sets of Continuing lnterrogatories and
Requests for the Production of Documents to Defendant, General Civil and Domestic Relations
Case Filing Information Form to: CSC of Cobb County, lnc as Registered Agent, BY LEAVING THE
SAME WITH Terri Thompson as Authorized to Accept at the address of: 192 Anderson St SE, Suite
125, Marietta, GA 30060.



Additional Information pertaining to this Service:
8/11/2023 10:38 am Perfected corporate service at 192 Anderson St SE Suite 125 Marietta, GA 30060.
Serve was executed in the lobby of the law ﬁrm to Terri Thompson the receptionist. She stated her name
and accepted serve direct delivery. Female, white, 45-55, 5'4. 170 lbs, dark brown hair and glasses.


l am an agent of Ancillary Legal Corporation and am competent in all respects to testify regarding the
matters set forth herein. have personal knowledge of the facts stated herein and know them to be true.l
                                              |




have no interest in the outcome of this action and am not related to any of the parties. am 18 or more                                 |




years of age and am authorized to serve process.



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